Case 2:92-cv-02062-.]PI\/|-tmp Document 2030 Filed 07/21/05 Page 1 ot 7 Page|D 9692

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IN THE UNITED STATES DISTRICT COURT

 

FOR THE wEsTERN DISTRICT OF TENNESSEE n{}MASMmD
wEsTERN DIvIeION ' CLEHK U.S. t`t§ STCO[M
W,t){;sf itt -’ii`ttPHls

UNITED STATES OF AMERICA,
Plaintiff,

v. No. 92-2062-D/A

STATE OF TENNESSEE, et al.,
Defendants,

PEOPLE FIRST OF TENNESSEE, and

PARENT - GUARD IAN AS SOC IATION OF
ARLINGTON DEVELO PMENTAL CENTER ,

`_z'~_/-._¢-._z~_.d~_/~._¢-._r~__¢~_/\._¢\-._r\_z~._/\-._r

Intervenors.

 

ORDER

 

On May 24, 2005, the Monitor, Dr. Nancy K. Ray, submitted an
invoice for fees and expenses incurred in April 2005. According to
this invoice, the Monitor incurred fees and expenses in the amount
of $98,870.02 in April 2005. This invoice is attached hereto as
Appendix l.

Whereas the Court has not received any comments or objections
from Defendant, Defendant State of Tennessee is hereby ORDERED to
pay the amount set out in this invoice into the registry of the
Court. All funds received by the Clerk of Court are directed to be
deposited into an interest-bearing account and shall be used to
reimburse the Monitor for her expenses and fees up to and including

the total sum of the money deposited by Defendant State of

This document entered on the docket she

wlth F\u|e 55 and/or 32(|:)} FRCrP on ' ;HD

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e Monitor shall be credited to

Tennessee. Any money not spent by th

Defendant.

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IT le so 0RDERED this l__q’* day of July, 2005.

 

BE ICE B. DONALD
UNITED STATES DISTRICT JUDGE

 

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR 'I`HE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

U`NITED STATES OF AMERICA,
Plaintiff,

V.

STATE OF TENNESSEE, ET Al.., NO. 92-2062 Ml / A
Defendants. §

INVOICE FOR APRIL 2005

Dr. Nancy K. Ray hereby represents to the Court that the following monies are payable to
her for her duties as the Monitor during the month of April 2005.

Payable to
NKR & Associates, Inc.

AMOUNT OF REIMBURSEMENT REQUESTED 598,870.02
SU MITTED BY:

few lf/F““?{

Nancy K. Ray, Ed.D. Date: May 24, 2005
President

 

 

 

Case 2:92-CV_02062_Jp|\/|_t NAN K. RAY _ED.D ` _
mp %g#ép)??c;z¢g§§er|-SMMXZHO5 _ PB.Q€ 4 Of 7 Pa_ge|[) 9695

NKR & Associates, Inc.
518 Delaware Avenue
Delmar, NY 12054
Phone (518) 478-0982 Fax (518) 478-0986

May 20, 2005
INVOICE FOR TH`E MONTH OF APRIL 2005

PROFESSIONAL STAFF HOURS

Ray, N. 201 hours @ sue 25,125-00
Bulgaro, P. 32 hours @ $150 4)800-00
Coleman, V. 152 hours @ $70 10,640-00
Truesdale, L. 163 hours @ $50 8,150-00
SUPPORT STAFF I-IOURS

Dowd, C. 166 hours @ 350 8,300.00
Farstad, E. 160 hours @ $40 6,400.00
Morris, K. 128 hours @ $50 6,400.00
Williams, S. 67.25 hours @ $40 2,690.00
STAFF TRAVEL

Ray (3/ 29-4/ 1 / 05) 1,308.20
Ray (4/ 5-'7/ 05) 668.65
Ray (4/1‘1-14/05) 1,025.60
Ray (4/19-22/05) 1,449.04
Colernan ( April 2005) 433.98
Bulgaro (4/ 11-14/ 05) 831.71
Truesdale (4/19-22/05) ‘1,424.78
Williams (4/19-22/ 05) 1,070.58
CONSULTANT HOURS

Hargrove, Paul (4/19-21/ 05) 3,375.00
Maxon, santa (3 / 294 / 3 / 05) 2,750.00
Ouimet, Cheryl (3 / 11-4 / 20 / 05) 7,700.00
CONSULTANT TRAVEL

Hargrove, P. (4/‘19-21/05) 711.73
Maxon, B. (3/29-4/1/ 05) 734.18
PHONE

Verizon Wireless and AT&T 227.39
POSTAGE

Fed Ex and US Postal Service 293.11
PRINTING §

Camelot Legal Copy and Inhouse Printing 1,606.43
MISCELLANEOUS

Supplies for Home Mar\ger Certtfication Graduations 754,64

Total $98,8'70.02

     

UNHED s'T'TAES D1STR1C COUR - ESTNER llsRCT oF TNNESSEE

Notice of Distribution

This notice confirms a copy cf the document docketed as number 2030 in
case 2:92-CV-02062 Was distributed by faX, mail, or direct printing on
.1 uly 22, 2005 to the parties listedl

 

 

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Case 2:92-cv-02062-.]P|\/|-tmp Document 2030 Filed 07/21/05 Page 7 ot 7 Page|D 9698

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Honorable Bernice Donald
US DlSTRlCT COURT

